
666 S.E.2d 749 (2008)
Steve McINTYRE
v.
Vicki McINTYRE.
No. 58A08.
Supreme Court of North Carolina.
October 10, 2008.
*750 Tash &amp; Kurtz, PLLC, by Jon B. Kurtz; and Robinson &amp; Lawing, LLP, by Michelle D. Reingold, Winston-Salem, for plaintiff-appellant.
Bell, Davis &amp; Pitt, P.A., by Robin J. Stinson; and Gatto Law Offices, P.A., by Joseph J. Gatto, Winston-Salem, for defendant-appellee.
PER CURIAM.
AFFIRMED.
